IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

STUDENTS FOR FAIR ADMISSIONS,
INC.,

Plaintiff,

UNIVERSITY OF NORTH CAROLINA,
et al.,

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v. ) 1:14CV954
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Defendants.

ORDER
This matter is before the Court upon Plaintiff Student For Fair Admissions, lnc.’s
(“Plaintiff”) l\/lotion to Exclude Late~Designated Witnesses and Late~Produced Documents.
(Docket Entry 136.) Defendant University of North Carolina at Chapel Hill (“UNC”) and all
other named Defendants (collectively “Defendants”) have filed a response in opposition to
Plaintist motion. (Docket Entry 144.) For the following reasons, the Court Will deny
Plaintist motion and permit additional time for limited discovery in this matter.
I. BACKGROUND
This case challenges the constitutionality of UNC’s use of race in its undergraduate admissions
process. (See generally Compl., Docket Entry 1.) More specifically, Plaintiff claims that UNC’s
admissions policy and procedures violates the Equal Protection Clause of the Fourteenth
Amendment because its use of race, color, and ethnicity is not narrowly tailored since applied as more
than just a “plus factor,” and Ui\lC has improperly employed racial preferences When there are

available race-neutral alternatives capable of achieving student body diversity. (§ee z`d. im 197-213.)

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Defendants filed an Ans\ver to the Complaint on March 24, 2015. (Docket Entry 30.) Discovery
commenced in this matter in May 2015, and fact discovery ended on ]une 30, 2017; however, expert
discovery continued until July 2018 after several extension requests1 (See Docket Entries 69, 72, 129.)

ln August 2018, Plaintiff filed the pending motion to exclude Defendants’ Late-Designated
Witnesses and Late-Produced Documents. (Docket Entry 136.) More specifically, the documents
Plaintiff seeks to exclude consists of: (1) a 137-page report dated May 2018 that Was produced by
UNC’s Race-Neutral Strategies Committee entitled “Examining Potential Race-Neutral Strategies in
Undergraduate Admissions at University of North Carolina at Chapel Hill” (the “May 2018 Race-
Neutral Strategies Report”); (2) an 83-page june 2018 report produced by UNC’s Educational
Benefits of Diversity & lnclusion Working Group (an entity formed in December of 2017); (3) a]uly
3, 2018 email (a portion of the document is redacted and marked “privileged”) from Senior Associate
Dean Abigail Panter to multiple UNC addressees attaching the May 2018 Race-Neutral Strategies
Report; (4) minutes from an April 9, 2018 meeting of the Data Analytics Subcommittee of the Race-
Neutral Strategies Task Force; and (5) an undated page of What appear to be typed notes regarding
“Race Neutral Alternative Strategies - Impact of Diversity on the Student Experience”. (Docket
Entry 139 at 9-10.) Additionally, Plaintiff seeks to limit the testimony of Robert Blouin, Who
succeeded ]ames Dean as Provost and Executive Vice Chancellor in September of 2017. (Ia’. at 8.)
Defendants object to Plaintist motion. (Docket Entry 144.) A telephone hearing Was held in this

matter on September 18, 2018. The parties maintained their positions regarding this dispute.

 

1 Discoveiy \vas partially stayed in this action pending a decision by the Supreme Court in Fz`r/Jer a
Uniy. of Tex¢z.v atAz/rz‘z`n, -~- U.S. ----, 136 S. Ct. 2198, 195 L. Ed. 2d 511 (2016) (“Fz'r/yerll”). (See Docket
Entiy 65.)

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II. DISCUSSION
As a general rule, Federal Rule 26(b) provides general provisions regarding the scope
of discovery:
Parties may obtain discovery regarding any nonprivileged matter that is relevant
to any party’s claim or defense and proportional to the needs of the case,
considering the importance of the issues at stake in the action, the amount in
controversy, the parties’ relative access to relevant information, the parties’
resources, the importance of the discovery in resolving the issues, and whether
the burden or expense of the proposed discovery outweighs its likely benefit

Information within this scope of discovery need not be admissible in evidence
to be discoverable

Fed. R. Civ. P. 26(b)(1). The federal rules also require parties early on in litigation to disclose
witnesses and information that they “may use to support its claims or defenses.” Fed. R. Civ.
P. 26(a) (1)(A)(i). “The purpose of Rule 26 (a) is to allow the parties to adequately prepare their
cases for trial and to avoid unfair surprise.” R;me// a A/am/z/!e Ca//evfz'on Sem‘., Im‘., 763 F.3d
385, 396 (4th Cir. 2014). Additionally, Rule 26(a) disclosures must be timely supplemented “if
the party learns that in some material respect the disclosure or response is incomplete or
incorrect, and if the additional or corrective information has not otherwise been made known
to the other parties during the discovery process or in writing.” Fed. R. Civ. P. 26(€)(1)(A).
lf any party fails to “identify a witness as required by Rule 26(a) or (e),” then they are

prevented from using that “witness to supply evidence on a motion, at a hearing, or at a trial,
unless the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). Whether
a failure to disclose is substantially justified or harmless depends upon a five-factor test:

(1) the surprise to the party against whom the evidence would be

offered; (2) the ability of that party to cure the surprise; (3) the

extent to which allowing the evidence would disrupt the trial; (4)

the importance of the evidence; and (5) the nondisclosing party’s
explanation for its failure to disclose the evidence.

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Brer/er a W'z'/wz'ngfon Tr. Cc)., 855 F.3d 178, 190 (4th Cir.) (citation omitted), cent denied 138 S.
Ct. 470, 199 L. Ed. 2d 357 (2017). The first four factors “relate primarily to the harmlessness
exception, while the last factor, addressing the party’s explanation for its nondisclosure, relates
mainly to the substantial justification exception.” I¢z’. The nondisclosing party bears the
burden of establishing these factors. le`/,éz`m 1). Mom:gome@/, 751 F.3d 214, 222 (4th Cir. 2014).
“The determination of whether a Rule 26(a) or (e) violation is justified or harmless is entrusted
to the broad discretion of the district court.” Reed a Warbingfon Arecz Meiro. Tmmz'fAz¢z‘/a, No.
1:14CV65, 2014 \X/L 2967920, at *2 (E.D. Va. July 1, 2014) (unpublished).

A. Defendants did not timely disclose the witness and documents.

Here, a review of the evidence demonstrates that Defendants did not disclose the late-
produced documents and Provost Blouin as a witness prior to the close of fact discovery. Fact
discovery ended in July 2017, and Defendants disclosed the information about the witness and
the documents on ]uly 13, 2018. Thus, it was untimely. Defendants argue that the holding in
Fz`rberl'l requires the “conrinual reassessment” of two focal points in the instant matter_ “race
neutral alternatives” in the admissions process and the “educational benefits of diversity.”
(Docket Entry 144 at 11.) Defendants further assert that UNC’s obligation does not end at
the close of discovery. Id. The Court does not find Defendants’ argument persuasive on this
point. The Supreme Court in Fz`,r/yer H did in fact hold that the University of Texas at Austin
has an “ongoing obligation to engage in constant deliberation and continued reflection
regarding its admissions policies.” 136 S. Ct. at 2215. This holding may be critical to the

instant case; however, the Court notes that the finding in Fz`r/Jer H was not in the context of a

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discovery dispute and does not suggest that its holding stands for the position that discovery
should be infinite.

Defendants also rely on the fact that Plaintiff seeks injunctive relief that would impact
UNC’s admission’s policies moving forward. (Docket Entry 144 at 12.) Defendants correctly
note that “[a] prospective injunction is entered only on the basis of current, ongoing conduct
that threatens future harm.” L)/om P’.r/yzj>, L.P. n Mom'r Carmwer, Im‘., 243 F.3d 789, 799 (4th
Cir. 2001). There are some instances where evidence produced after discovery is not excluded
where injunctive relieve is sought. A district court within the Fourth Circuit wrote:

The current facts [in this matter] are so vital to the court’s
decision when such form of relief is sought as the court is not
only charged with determining the equitable relief appropriate on
the date of the court’s order, but is also expected to fashion relief
that appears appropriate for extension into the future; such task
can hardly be faithfully completed in reliance on a record that is

nearly three and half years old and established prior to a
significant factual development

Mercexchange, L.L.C. a eB@/, Im‘., 467 F. Supp. 2d 608, 611 (E.D. Va. 2006). However, there
are also some instances where late~produced evidence was excluded in injunctive relief matters.
See e.g., thaggard Crop Proz‘., LLC a le`//ou/ood, LLC, No. 1:15-CV~274, 2017 WL 3309699
(M.D.N.C. Aug. 2, 2017); H@//e 21. Frez;g/rt/z`nen LLC, 650 F.3d 321 (4th Cir. 2011). ln any event,
neither Defendants nor the Court has found mandatory or persuasive authority for allowing
unfettered discovery in cases involving perspective relief that is coupled with an ongoing duty
to maintain compliance with the federal Constitution.

As such, unless Defendants can carry their burden of demonstrating that the disclosure
violation was justified or harmless, the information and witness must be excluded or other
sanctions may be authorized Syn<genm Croj) Prof., LLC v. LVz'//owood, LLC, No. 1:15~CV-274,

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2017 WL 3309699, at *5 (M.D.N.C. Aug. 2, 2017) (unpublished) (citing Fed. R. Civ. P. 37(c))
(“\While exclusion is the presumed sanction, the Court has discretion to determine what
sanction is appropriate.”). As further explained below, the Court finds that Defendants’ late
disclosures are harmless and Plaintiff is not prejudiced as a result of the late disclosures
Plaintiffs motion will therefore be denied.

B. The late disclosures are harmless

The Court concludes here that the untimely disclosures are harmless The
circumstances here demonstrate that the factors weigh in Defendants’ favor. First, Plaintiff
was not completely surprised by the late-produced evidence An exchange of emails in or
about June 2017 and August 2017 demonstrate that Plaintiff was aware of on-going work of
UNC. (See Emails, Exs. 7, 8, Docket Entries 144-7, 144-8.)2 Additionally, Plaintiff received
evidence in December 2017 regarding UNC’s assessment activities (See Emails, Exs. 12, 13,
Docket Entries 144-12, 144-13.) Thus, this factor weighs in Defendants’ favor.

The next three factors also weigh in Defendants’ favor. A trial date has not been set
in this matter. \X/'ith no date impending, any surprise may be cured by permitting limited
discovery as to the late-produced documents so that Plaintiff may have the ability to process
and fairly consider the additional evidence Summary judgment deadlines may also be
extended Additionally, neither party really disputes the significance of the information
Having found that the late-produced evidence is harmless, the Court will deny Plaintiff’s

motion and reopen discovery for a limited purpose3 Edwardr 2/. McE//z`oiz‘r Tm¢‘/éz`n<g, LLC, 268

 

2 In its letter, Plaintiff did object to any future work by UNC’s Committee on Race-Neutral Strategies.
(Docket Entry 144-7 at 2.)
3 As Plaintiff points out, the Undersigned previously ordered that there would be no further discovery

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F. Supp. 3d 867, 884 (S.D.W. Va. 2017) (unpublished) (finding that even if there was a surprise,
“the surprise can be easily cured through agreement with [Plaintiff] to reopen discovery for
the limited purpose of deposing the witness At this stage in the case, it would have no effect
on the trial.”); E. B¢id<ge Loftr Prop. 022/mrs Arr’n, Im‘. n Cmm e’?° Fom‘er fpew`a/§/ Im. Co., No.
2:14-CV-2567-RMG, 2015 WL 12831677, at *3 (D.S.C. ]uly 9, 2015) (unpublished) (“Because
the Court can and will cure any surprise and/ or prejudice, the Court finds the late disclosure
harmless[.]”); Boa’den 1). Co/e, No. 3:11-CV-127~]~20MCR, 2012 WL 33051, at *2 (M.D. Fla. _jan.
6, 2012) (unpublished) (“Plaintiff s alleged untimely disclosures are harmless because
Defendant will not suffer any prejudice as trial is not [imminent], and the Court will reopen
discovery for this limited purpose.”).
C. The testimony of Provost Blouin shall not be limited.

Having concluded that the Court will reopen discovery for a limited purpose in this
matter, the Court finds no reason to limit the testimony of Provost Blouin. Thus, Plaintiff s

motion as to this issue is also denied.

 

extensions in this matter. (ti`ee Docket Entry 129 at 2.) However, given the nature of the circumstances
now pending before the Court, discovery will be reopened for a limited purpose.

The Court further notes that it is possible that UNC is continuing to engage in on-going work with
its various Committees. The limited discovery will be solely related to the information produced in
July 2018. Defendants should continue to meet the standards in Fz'J/Je)‘H; however, discovery in this
matter is not unfettered and the “[t]he management of the Court’s docket is of the utmost importance
to the carrying out of justice.” Tz`b/ard 1/. O’Rez'/b/ Aaz‘o Parf.t, I¢zc., No. 1:11CV236, 2012 WL 5250534,
at *6 (M.D.N.C. Oct. 24, 2012) (unpublished) (internal citations omitted).

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III. CONCLUSION

For the reasons stated herein, IT IS HEREBY ORDERED that Plaintist l\/lotion
to Exclude Late-Designated Witnesses and Late-Produced Documents (Docket Entry 136) is
DENIED.

IT IS FURTHER ORDERED that discovery shall be reopened for the limited
purpose of allowing Plaintiff an opportunity to make appropriate discovery requests, depose
the UNC ochials who authored or created the late-disclosed documents, and submit
supplemental expert reports addressing them. As such, the limited discovery shall be
completed no later than Wednesday, December 19, 2018, and summary judgment motions

shall be filed no later than Friday, January 18, 2019.

 
  

 

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September 1 9, 201 8
Durham, North Carolina

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